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 WYNDHAM WORLDWIDE CORPORATION,
 WYNDHAM VACATION OWNERSHIP, INC.,
 WYNDHAM VACATION RESORTS, INC.,
 MICHAEL JONAH and TOM VIRAG

                       IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF HAWAI`I
 LIANE WILSON and JOANNA                        Case No. CV 11-00538 LEK BMK
 WHEELER, on behalf of themselves
 and other females similarly situated,          STIPULATION TO ALLOW FIRST
                                                AMENDED ANSWER; EXHIBIT A;
                  Plaintiffs,
                                                AND ORDER
            vs.
 WYNDHAM WORLDWIDE
 CORPORATION; WYNDHAM
 VACATION OWNERSHIP, INC.;
 WYNDHAM VACATION RESORTS,
 INC.; MICHAEL JONAH; MARK
 POLLARD; TOM VIRAG; DOE I
 through X, and ROE BUSINESS
 ENTITIES I through X, inclusive,
                  Defendants.



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            STIPULATION TO ALLOW FIRST AMENDED ANSWER

              Pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure,

 Plaintiffs Liane Wilson and Joanna Wheeler, on behalf of themselves and other

 females similarly situated, and Defendant Mark Pollard, hereby CONSENT to the

 amendment of Defendants Wyndham Worldwide Corporation, Wyndham Vacation

 Ownership Inc., Wyndham Vacation Resorts, Inc., Michael Jonah, and Tom

 Virag's Answer to Complaint Filed on June 6, 2011, in the form attached hereto as

 Exhibit A, the First Amended Answer.

              DATED: Honolulu, Hawai`i, April 9, 2012.



                                       /s/ Carl M. Varady
                                       CARL M. VARADY
                                       FELICIA MEDINA

                                       Attorneys for Plaintiffs


                                       /s/ Malia E. Kakos
                                       ANNA ELENTO-SNEED
                                       MALIA E. KAKOS

                                       Attorneys for Defendants
                                       WYNDHAM WORLDWIDE
                                       CORPORATION, WYNDHAM
                                       VACATION OWNERSHIP, INC.,
                                       WYNDHAM VACATION RESORTS,
                                       INC., MICHAEL JONAH and TOM VIRAG




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                                    / s/ Wesley M. Fujimoto
                                    WESLEY M. FUJIMOTO

                                    Attorney for Defendant
                                    MARK POLLARD



 APPROVED AND SO ORDERED:

 DATED: Honolulu, Hawaii, April 11, 2012.




                                        /S/ Barry M. Kurren
                                       Barry M. Kurren
                                       United States Magistrate Judge




 Liane Wilson and Joanna Wheeler, on behalf of themselves and other females
 similarly situated v. Wyndham Worldwide Corporation, et al.,
 Case No. CV 11-00538 LEK-BMK, U.S. District Court for the District of Hawai`i
 STIPULATION TO ALLOW FIRST AMENDED ANSWER



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